                  UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                        WESTERN DIVISION

                      NO.5: 09-CR-00353-1BO


UNITED STATES OF AMERICA

           v.                         ORDER TO MODIFY AMOUNT OF
                                      RESTITUTION
EBONY MARIE JUDD




     Upon motion of the United States and for good cause shown, the

Government's motion to modify the judgment in the above-referenced

case will reflect the true and accurate amount of loss to the
victim(s) in the amount of $7,464.86.    Joint and Several with co-defendant's.
     IT IS SO ORDERED, this the   ~      day of August, 2010.




                                ERRENCE W. BOYLE
                               United States District




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